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              Chapter 3



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1                                                              ANACT

2    relating           to     censorship              of    or        certain         other         interference              with

3    digital      expression,                 including        expression              on social           media     platforms

4    or through          electronic             mail    messages.

5                BE IT ENACTEDBY THE LEGISLATUREOF THE STATEOF TEXAS:

6                SECTION 1.              The legislature                 finds       that:

 7                           (1)       each      person           in       this      state        has        a     fundamental

8    interest          in     the     free      exchange          of    ideas       and       information,             including

 9   the     freedom         of others          to share       and receive             ideas         and information;

10                           (2)       this        state          has         a      fundamental                 interest          In

11   protecting              the      free      exchange           of      ideas       and       information              in   this

12   state;

13                           (3)       social          media           platforms               function            as        common

14   carriers,          are        affected        with      a public             interest,          are     central         public

15   forums      for        public       debate,        and have            enjoyed       governmental               support       in

16   the     united         States;      and

17                           (4)       social      media       platforms             with      the       largest        number     of

18   users      are     common carr iers               by virtue            of their         market        dominance.

19               SECTION 2.               Subtitle          C, Title         5, Business             &   Commerce Code,            is

20   amended by adding                  Chapter        120 to read            as follows:

21                                    CHAPTER120.            SOCIAL MEDIAPLATFORMS

22                                     SUBCHAPTER
                                                A.                 GENERALPROVISIONS

23               Sec.        120.001.           DEFINITIONS.                In this       chapter:

24                           (1)       "Social         media      platform"            means      an Internet               website



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1    or application             that        is    open to            the      public,            allows       a user        to     create

2    an account,          and enables                  users       to       communicate              with      other        users        for

3    the    primary      purpose            of posting               information,                 comments,           messages,           or

4    images.       The term does not                     include:

5                                     (A)        an     Internet              service            provider           as     defined        by

6    Section      324.055;

 7                                    (B)        electronic             mail;         or

 8                                    (C)        an online            service,             application,              or website:

 9                                               (i)        that             consists              pr imar ily              of      news,

10   sports,       entertainment,                 or other              information                or content             that     is    not

11   user     generated         but    is preselected                      by the provider;                   and

12                                               (ii)          for         which           any       chat,           comments,             or

13   interactive          functionality                  is    incidental                 to,     directly          related        to,     or

14   dependent         on the provision                     of the         content          descr ibed          by Subparagraph

15   ( i) .

16                       (2)      "User"                means           a      person             who         posts,            uploads,

17   transmits,          shares,            or         otherwise              publishes              or       recelves            content

18   through       a social       media platform.                          The term             includes        a person          who has

19   a social         media     platform              account           that        the     social        media          platform        has

20   disabled         or locked.

21              Sec.     120.002.                APPLICABILITY OF CHAPTER.                                    (a)        This     chapter

22   applies       only to a user                who:

23                        (1)     resides               in this         state;

24                        (2)     does business                      in this         state;         or

25                        (3)     shares               or      receives              content             on     a    social          media

26   platform         in this     state.

27              (b)      This     chapter               applies              only     to        a social            media        platform



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1    that     functionally            has        more     than         50 million              active            users          in    the

2    United      States        in a calendar            month.

3               Sec.      120.003.          CONSTRUCTIONOF CHAPTER.                                       This     chapter            may

4    not be construed              to limit        or expand           intellectual                 property             law.

5                               SUBCHAPTER
                                         B.               DISCLOSUREREQUIREMENTS

6               Sec.      120.051.          PUBLIC DISCLOSURES.                               (a)          A social              media

7    platform          shall,        in     accordance             with         this          subchapter,                  publicly

8    disclose          accurate       information             regarding                its      content             management,

 9   data       management,               and     business             practices,               including                  specific

10   information               regarding          the      manner          in     which              the         social          media

11   platform:

12                        (1)      curates        and targets            content             to users;

13                        (2)      places          and       promotes             content,                   services,                 and

14   products,         including          its    own content,            services,              and products;

15                        (3)      moderates            content;

16                        (4)      uses         search,       ranking,              or        other          algorithms                 or

17   procedures          that     determine         results        on the platform;                        and

18                        (5)      provides         users'       performance                 data         on the         use    of the

19   platform         and its      products        and services.

20              (b)       The     disclosure              required          by         Subsection                  (a)      must        be

21   sufficient           to enable        users        to make an informed                     choice           regarding             the

22   purchase         of or use of access                 to or services               from the platform.

23              (c)       A social         media         platform         shall          publish             the         disclosure

24   required          by Subsection              (a)     on an Internet                 website             that         is    easily

25   accessible          by the public.

26              Sec.      120.052.              ACCEPTABLEUSE POLICY.                               (a)      A social                media

27   platform          shall     publish         an acceptable             use policy                 in a location                   that



                                                                   3
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1    is easily       accessible           to a user.

2              (b)     A social          media platform's                acceptable              use policy              must:

3                       (1)        reasonably           inform        users        about        the    types        of content

4    allowed      on the        social    media platform;

5                       (2)        explain        the     steps        the     social           media        platform           will

6    take     to ensure         content      complies       with        the policy;

7                       (3)        explain        the     means         by which              users         can    notify        the

8    social       media       platform        of     content           that        potentially                violates           the

 9   acceptable        use policy,            illegal       content,               or illegal           activity,              which

10   includes:

11                                 (A)     an      e-mail             address            or     relevant                complaint

12   intake     mechanism          to handle        user     complaints;                 and

13                                 (B)      a complaint               system       descr ibed by Subchapter                        C;

14   and

15                        (4)      include         publication                of     a    biannual            transparency

16   report      out lining        act ions       taken     to enf or ce the policy.

17             Sec.    120.053.            BIANNUAL
                                                  TRANSPARENCREPORT.
                                                             Y       (a)                                               As part     of

18   a   social       media        platform's            acceptable                use        policy         under           Section

19   120.052,         the       social       media         platform             shall           publish            a     biar;mual

20   transparency           report        that      includes,           with        respect            to    the        preceding

21   six-month        period:

22                        (1)      the    total      number of instances                         in which              the    social

23   media platform             was alerted         to illegal               content,           illegal           activity,         or

24   potentially          policy-violating                content         by:

25                                  (A)      a user      complaint;

26                                  (B)      an employee              of or person              contracting              with     the

27   social       media platform;            or



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1                        (C)   an internal automated detection tool;
2                  (2)   subject to Subsection (b), the number of instances

3    in which the social media platform         took action with respect           to

4    illegal content, illegal activity, or potentially policy-violating

5    content known to the platform due to the nature of the content as
6    illegal content, illegal activity, or potentially policy-violating

7    content, including:
8                        (A)   content removal;
9                        (B)   content demonetization;

10                       (C)   content deprioritization;
11                       (D)   the addition of an assessment to content;

12                       (E)   account suspens ion;
13                       (F)   account removal; or

14                       (G)   any other action taken in accordance with the

15   platf orm's acceptable use po licy;
16                 (3)   the country of the user who provided the content

17   for each instance descr ibed by Subdivision       (2);

18                 (4)   the   number      of   coordinated      campaigns,        if

19   applicable;
20                 (5)   the number of instances in which a user appealed

21   the decision    to remove    the user's potentially       policy-violating

22   content;
23                 (6)   the percentage of appeals described by Subdivision

24   (5) that resulted in the restoration of content; and
25                 (7)   a description   of each tool, practice,       action, or

26   technique used in enforcing the acceptable use policy.
27          (b)    The information described by Subsection         (a) (2) must be



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1    categor     ized    by:

2                        (1)       the     rule   violated;          and

3                        (2)       the      source        for       the      alert         of     illegal            content,

4    illegal          activity,             or     potentially               policy-violating                        content,

5    including:

6                                   (A)       a government;

 7                                  (B)       auser;

8                                   (C)       an internal         automated              detection         tool;

 9                                  (D)       coordination                 with          other          social             media

10   platforms;         or

11                                  (E)       persons       employed          by or         contracting              with       the

12   platform.

13              (c)     A social           media       platform           shall        publish       the       information

14   described          by        Subsection             (a)      with            an     open        license,              ln       a

15   machine-readable               and open format,                and in a location                   that        is    easily

16   accessible         to users.

17                                SUBCHAPTER
                                           C.               COMPLAINT
                                                                    PROCEDURES

18              Sec.     120.101.             COMPLAINTSYSTEM.                         A social       media          platform

19   shall      provide        an    easily        accessible             complaint             system      to       enable         a

20   user      to submit       a complaint             in good faith              and track       the      status         of the

21   complaint,         including           a complaint         regarding:

22                       (1)        illegal       content       or activity;               or

23                       (2)        a decision           made by the               social        media       platform              to

24   remove content            posted         by the user.

25              Sec.     120.102.             PROCESSING OF COMPLAINTS.                              A social              media

26   platform          that       receives         notice           of      illegal          content           or        illegal

27   activity         on the      social      media platform               shall        make a good faith                 effort



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1    to evaluate            the     legality                 of the         content           or activity             within         48 hours

2    of     receiving             the        notice,               excluding                 hours         during      a    Saturday            or

3    Sunday and subject                      to reasonable                    exceptions              based         on concerns            about

4    the    legit      imacy of the not ic e .

5              Sec.      120.103.                  REMOVAL
                                                         OF CONTENT;EXCEPTIONS.                                              (a)       Except

6    as provided            by Subsection                       (b),        if       a social         media         platform          removes

 7   content         based         on        a     violat           ion      of        the     platform's             acceptable              use

8    policy         under         Section              120.052,              the        social         media         platform          shall,

 9   concurrently            with        the       removal:

10                          (1)         notify           the         user         who provided                the      content         of     the

11   removal        and explain                  the    reason            the        content      was removed;

12                          (2)         allow          the user             to appeal           the        decision        to remove the

13   content        to the platform;                         and

14                          (3)         provide              written              notice         to    the      user       who provided

15   the    content         of:

16                                      (A)            the          determination                      regarding                an     appeal

17   requested          under       Subdivision                      (2);       and

18                                      (B)            In the         case           of a reversal             of the       social         media

19   platform's             decision               to        remove           the        content,            the      reason         for      the

20   reversal.

21               (b)      A social                media             platform             is    not     required            to      provide         a

22   user     with     notice           or an opportunity                            to appeal         under        Subsection          (a)     if

23   the    social       media platform:

24                          (1)         is        unable              to         contact             the      user         after       taking

25   reasonable          steps          to make contact;                          or

26                          (2)         knows                that           the         potentially                 policy-violating

27   content         relates        to an ongolng                      law enforcement                      investigation.



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 1           Sec.      120.104.           APPEAL     PROCEDURES.             If    a      social      media

2    platform     receives         a user     complaint        on the social       media     platform's

 3   removal    from the platform              of content       provided      by the user      that the

4    user   believes         was    not     potentially        policy-violating            content,         the

 5   social media platform                shall, not later than the 14th day, excluding

 6   Saturdays        and    Sundays,       after     the     date    the   platform       receives         the

 7   complaint:

 8                     (1)        review the content;

 9                     (2)        determine        whether      the     content     adheres         to      the

10   pIa tfor m 's a ccep tab 1e use pol icy;

11                     (3)        take appropriate           steps based      on the determination

12   under Subdivision             (2); and

13                     (4)        notify    the user        regarding       the determination              made

14   under Subdivision             (2) and the steps taken under Subdivision                       (3).

15                                    SUBCHAPTER       D.     ENFORCEMENT

16             Sec.    120.151.           ACTION    BY ATTORNEY       GENERAL.      (a) The attorney

17   general     may       bring     an    action     against        a social     media     platform         to

18   enjoin a violation             of this chapter.

19             (b)     If an injunction             is granted        in an action        brought         under

20   Subsection        (a), the attorney             general    may recover        costs    incurred         in

21   bringing        the     action,        including        reasonable       attorney's       fees         and

22   reasonable        investigative          costs.

23             SECTION       3.     The heading        to Chapter       321, Business        & Commerce

24   Code, is amended             to read as follows:

25              CHAPTER       321. REGULATION          OF [CERTZUt't]       ELECTRONIC      MAIL

26             SECTION       4.     Section        321.001,     Business      &   Commerce     Code,         is

27   amended    by adding          Subdivision        (4-a) to read as follows:



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 1                        (4-a)           "Malicious                   computer          code"        means            an     unwanted

2    computer          program            or     other           set      of     instructions               inserted             into        a

3    computer's          memory, operating                        system,        or program          that:

4                                       (A)       is      spec if ically              constructed           with        the     ability

5    to replicate              itself          or to affect              the     other     programs             or files          in the

6    computer          by attaching              a copy of the unwanted                         program          or other         set      of

 7   instructions              to one or more computer                          programs         or files;             or

8                                       (B)       is        intended             to      perform            an        unauthorized

 9   process           that        will          adversely                impact          the        confidentiality                       of

10   information              contained              in     or    the     integrity            or    availability                of     the

11   computer's          memory, operating                        system,        or program.

12              SECTION 5.                Subchapter                B,    Chapter         321,       Business               & Commerce
13   Code,      is amended by adding                        Sect ion 321.054               to read         as follows:

14              Sec.      321. 054.              IMPEDING                      ELECTRONIC                  MAIL               MESSAGES

15   PROHIBITED.                   An          electronic                mail         service          provider               may       not

16   intentionally                  impede                the      transmission                 of         another             person's

17   electronic          mail       message            based       on the       content         of the message                 unless:

18                        (1)           the       provider                is          author    ized            to       block          the

19   transmission               under          Section            321.114        or     other        applicable               state        or

20   federal       law;       or

21                        (2)           the     provider            has        a good     faith,           reasonable            belief

22   that       the      message               contains                malicious           computer              code,          obscene

23   material,           material               depicting               sexual         conduct,            or        material         that

24   violates          other       law.

25              SECTION 6.                Section               321.105(a),           Business         &   Commerce Code,                  is

26   amended to read               as follows:

27               (a)      In       lieu         of        actual         damages,          a     person              injured          by      a



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1    violation          of         this      chapter              ar ising             from      the       transmission             of         an

2    unsolicited         or commercial                      electronic                 mail    message          or by a violation

3    of Section         321.054            may recover                 an amount equal                   to the      lesser      of:

4                        (1)          $10      for          each         unlawful             message           or    each       message

5    unlawfully         impeded,             as applicable;                       or

6                        (2)              $25,000           for        each        day        the        unlawful         message              is

7    received       or the message                   is unlawfully                     impeded,           as applicable.

8               SECTION 7.                  Title       6,        Civil          Practice            and       Remedies       Code,            is

 9   amended by adding                    Chapter           143A to read                as follows:

10                 CHAPTER143A.                      DISCOURSEON SOCIALMEDIAPLATFORMS

11              Sec.     143A. 001.                 DEFINITIONS.                       In this       chapter:

12                       (1)              "Censor"          means to block,                      ban,      remove,        deplatform,

13   demonetize,         de-boost,                  restr     ict,        deny equal              access        or visibility             to,

14   or otherwise             discriminate                  against              expression.

15                       (2)              "Expression"                 means           any word,          music,       sound,          still

16   or moving image,                 number,          or other              perceivable                 communication.

17                       (3)              "Receive,"              with       respect          to an expression,                  means to

18   read,     hear,     look at,             access,             or gain          access         to the        expression.

19                       (4)              "Social       media            platform"             has       the    meaning       assigned

20   by Section         120.001,             Business              &   Commerce Code.

21                       (5)              "Unlawful           expression"                 means          an expression            that         is

22   unlawful          under         the      United              States          Constitution,                 federal       law,        the

23   Texas      Constitution,                 or the         laws of this                 state,          including        expression

24   that      constitutes                a tort       under           the       laws     of this          state      or the       United

25   States.

26                           (6)          "User"        means                a     person            who        posts,           uploads,

27   transmits,          shares,             or otherwise                    publishes              or    receives        expression,



                                                                           10
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 1   through     a social media platform.              The term includes              a person        who has

2    a social     media      platform     account     that the social           media         platform       has

 3   disabled     or locked.

4              Sec.    143A.002.         CENSORSHIP        PROHIBITED.          (a)      A social       media

5    platform     may     not    censor     a user,        a user's     expression,            or a user's

6    ability     to rece ive the expression                of another    per son based on:

 7                     (1)      the viewpoint       of the user or another               per son;

 8                     (2)      the viewpoint       represented         in the user's expression

 9   or another       person's     expression;        or

10                     (3)      a user's    geographic         location     ln this           state    or any

11   part of this state.

12             (b)     This      section      applies         regardless            of    whether            the

13   viewpoint        is expressed        on a social         media     platform         or through          any

14   other medium.

15             Sec.    143A.003.         WAIVER      PROHIBITED.            (a)           A       waiver      or

16   purported        waiver     of the     protections         provided       by     this        chapter     is

17   void   as       unlawful      and     against     public         policy,       and       a    court      or

18   arbitrator        may not enforce        or give effect           to the waiver,              including

19   in an action         brought    under        Section     143A.007,     notwithstanding                  any

20   contract     or choice-of-law          provision        in a contract.

21             (b)     The waiver        prohibition        described     by Subsection               (a) is a

22   public-policy           limitation      on contractual           and other          waivers       of the

23   highest     importance        and     interest        to this    state,      and this           state    is

24   exercising         and     enforcing      this        limitation      to       the       full     extent

25   permitted        by the United       States Constitution            and Texas Constitution.

26             Sec.    143A.004.         APPLICABILITY         OF CHAPTER.          (a)       This chapter

27   applies     only to a user who:



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 1                     (1)      resides      in this state;

 2                     (2)      does business         in this state;            or

 3                     (3)      shares or receives              expression       in this state.

 4             (b)    This      chapter      applies       only to expression               that     is shared

 5   or received       in this state.

 6             (c)    This      chapter      applies        only      to    a social        media     platform

 7   that     functionally           has   more     than     50 million          active       users     in the

 8   United    States        in a calendar        month.

 9             (d)    This chapter           applies    to the maximum               extent   permitted       by

10   the United       States Constitution             and the laws of the United                    States but

11   no further       than      the maximum         extent      permitted        by the United          States

12   Constitution        and the laws of the United                   States.

13             Sec.    143A.005.           LIMITATION           ON    EFFECT     OF     CHAPTER.          This

14   chapter    does not subject             a social media platform                 to damages       or other

15   legal remedies           to the extent         the social media platform                  is protected

16   from those remedies              under federal         law.

17             Sec.    143A.006.           CONSTRUCTION          OF CHAPTER.           (a)    This     chapter

18   does not prohibit           a social media platform                   from censoring           expression

19   that:

20                     (1)      the        social      media          platform         is     specifically

21   author ized to censor by federal                  law;

22                     (2)      is the       subject       of a referral             or request        from   an

23   organization             with     the     purpose           of         preventing         the      sexual

24   exploitation            of children      and protecting               survivors     of sexual       abuse

25   from ongoing       harassment;

26                     (3)      directly       incites       criminal        activity        or consists      of

27   specific        threats     of violence           targeted        against        a person        or group



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1    because        of their             race,     color,         disability,               religion,          national            origin

2    or ancestry,             age,        sex,     or status         as a peace              officer        or judge;              or

3                            (4)         is unlawful          expression.

4               (b)        This          chapter          may       not        be     construed              to     prohibit               or

5    restr    ict     a social            media platform               from author izing                    or facilitating                     a

6    user'    s ability             to censor            specif     ic expr ession              on the         user'     s platform

 7   or page at the                request         of that        user.

8               (c)        This          chapter         may not          be     construed             to    limit         or      expand

 9   intellectual               property           law.

10              Sec.       143A. 007 .              USER REMEDIES.                     (a)           A user       may br ing               an

11   action         against         a social             media platform               that       violates           this        chapter

12   with     respect           to the user.

13              (b)        If       the        user       proves          that       the       social          media          platform

14   violated         this         chapter        with     respect          to the user,              the user          lS    entitled

15   to recover:

16                           (1)         declaratory              relief         under         Chapter            37,        including

17   costs      and reasonable                     and necessary                 attorney's             fees      under         Section

18   37.009;         and

19                           (2)         injunctive          relief.

20              (c)        If      a social           media platform                fails      to promptly              comply with

21   a court         order          in    an action          brought             under        this      section,             the        court

22   shall     hold        the      social         media platform                   in contempt             and shall           use       all

23   lawful         measures              to     secure      immediate               compliance              with       the        order,

24   including               daily             penalties             suff ic ient               to       secur e             immediate

25   compliance.

26              (d)        A user          may br ing an act ion under                         this     sect ion regardless

27   of     whether          another             court     has      enjoined           the      attorney            general              from



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1    enforcing this chapter or declared any provision                          of this chapter

2    unconstitutional unless that court decision is binding on the court
3    in which the action is brought.
4             (e)   Nonmutual        issue     preclusion            and     nonmutual           claim
5    preclusion      are   not   defenses       to      an    action       brought    under          this
6    section.

7             Sec. 143A.008.       ACTION BY ATTORNEY GENERAL.                  (a) Any per son

8    may   notify    the   attorney         general      of    a violation           or   potential
9    violation of this chapter by a social media platform.
10            (b)   The attorney general may bring an action to enjoin a
11   violation      or   a potential        violation         of    this    chapter.            If    the
12   injunction is granted, the attorney general may recover costs and
13   reasonable     attorney's       fees    incurred         in br inging     the action             and

14   reasonable investigative costs incurred in relation to the action.

15            SECTION 8.      (a) Mindful of Leavitt                v. Jane L., 518 u.S. 137

16   (1996), in which in the context of determining the severability of a
17   state statute the United States Supreme Court held that an explicit
18   statement of legislative intent is controlling, it is the intent of
19   the   legislature        that    every        provision,          section,       subsection,
20   sentence,      clause,      phrase,      or     word      in    this     Act,        and    every
21   application of the provisions in this Act, are severable from each
22   other.
23            (b)   If any application of any provision                     in this Act to any
24   person, group of persons, or circumstances is found by a court to be
25   invalid or unconstitutional,              the remaining           applications         of that
26   provision to all other persons and circumstances                         shall be severed
27   and may not be affected.           All constitutionally                valid applications



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 1   of this        Act    shall        be    severed        from       any     applications        that        a court

 2   finds     to    be        invalid,        leaving         the       valid     applications            in    force,

 3   because      it is the legislature1s                         intent       and priority        that the valid

4    applications           be allowed          to stand alone.

 5             (c)        If any court              declares       or finds        a provision           of this Act

 6   f ac ially      unconst itut ional,                when           discr ete       applicat ions            of   that

 7   provision        can be enforced                 against           a person,        group    of persons,           or

 8   circumstances              without       violating           the United       States        Constitution          and

 9   Texas     Constitution,              those       applications              shall     be severed        from       all

10   remaining       applications              of the provision,                 and the provision          shall be

11   interpreted           as if the legislature                       had enacted        a provision           limited

12   to the persons,                 group     of persons,              or circumstances            for which          the

13   provision1s            application               will        not      violate        the      United        States

14   Const itut ion and Texas Const itut ion.

15             (d)        The        legislature        further           declares        that     it    would       have

16   enacted         this        Act,         and     each        provision,           section,          subsection,

17   sentence,            clause,         phrase,            or        word,     and      all      constitutional

18   applications               of     this     Act,     irrespective               of    the     fact      that       any

19   provision,           section,       subsection,              sentence,        clause,       phrase,    or word,

20   or applications                 of this Act, were to be declared                      unconstitutional.

21             (e)        If any provision              of this Act is found by any court to be

22   unconstitutionally                 vague,        the applications                 of that provision             that

23   do not present              constitutional              vagueness           problems        shall    be severed

24   and remain       in force.

25             (f)        No     court        may      decline           to     enforce      the        severability

26   requirements              of Subsections            (a),          (b),     (c),     (d), and        (e) of this

27   section        on the ground              that    severance           would       rewrite     the statute          or



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1    involve the court in legislative or lawmaking activity.                 A court

2    that declines to enforce or enjoins a state official from enforcing

3    a statutory provision         does not rewrite a statute, as the statute
4    continues to contain the same words as before the court's decision.

5    A judicial injunction or declaration of unconstitutionality:
6                (1)      lS     nothing   more   than   an   edict   prohibiting
7    enforcement that may subsequently be vacated by a later court if

8    that court has a different understanding of the requirements of the
9    Texas Constitution or United States Constitution;
10               (2)      is not a formal amendment       of the language       in a
11   statute; and

12                  (3)   no more rewrites a statute than a decision by the
13   executive not to enforce a duly enacted statute in a limited and
14   defined set of circumstances.

15         SECTION 9.          Chapter 143A, Civil Practice and Remedies Code,
16   as added by this Act, applies only to a cause of action that accrues
17   on or after the effective date of this Act.

18         SECTION 10.         This Act takes effect on the 91st day after the
19   last day of the legislative session.




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                                                                                                  H.B.   No.    20




                                                                       Speaker        of the House


          I certify       that H.B. No. 20 was passed                          by the House         on August

30, 2021, by the following                    vote:        Yeas      77, Nays         49, 1 present,           not

voting;       and that      the House          concurred          In Senate        amendments            to H.B.

No. 20    0n   Sep t emb er 2, 202 1, by t b....Iiii.~IfIIIIIIIII!II""-1Iii.                                Nays

42,1   present,        not voting.




                                                                      Chief Clerk of the House


          I   certify      that      H.B.      No.     20 was       passed       by    the       Senate,    with

amendments,        on August           31, 2021,         by the following                  vote:     Yeas      17,

Nays 14.




APPROVED:
                                      7-          'Z7
                            Date




                                                                                 FILED IN THE OFFICE OF THE
                                                                                    SECRETARY OF STATE
                                                                                       f    f!Y" O'CLOCK
                                                                                           SEP      2021

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